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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  CSX TRANSPORTATION, INC.,

               Plaintiff,

  v.                                                Civil Action No. 5:05CV202
                                                                       (STAMP)
  ROBERT V. GILKISON,
  PEIRCE, RAIMOND & COULTER, P.C.,
  a Pennsylvania professional corporation
  a/k/a ROBERT PEIRCE & ASSOCIATES, P.C.,
  a Pennsylvania professional corporation,
  ROBERT PEIRCE, JR., LOUIS A. RAIMOND,
  MARK T. COULTER, and RAY HARRON, M.D.,

               Defendants.


                          MEMORANDUM OPINION AND ORDER
                      GRANTING IN PART AND DENYING IN PART
                      RAY HARRON, M.D.’S MOTION TO DISMISS
                            THE AMENDED COMPLAINT AND
                    DENYING AS MOOT PLAINTIFF’S MOTION FOR
                     EXTENSION OF TIME TO COMPLETE SERVICE

        The plaintiff, CSX Transportation, Inc. (“CSX”), names Ray

  Harron,    M.D.    (“Dr.    Harron”)    in    three   counts   of   its    amended

  complaint:     Count    2   (civil     RICO   conspiracy),     Count   4   (civil

  conspiracy) and Count 7 (punitive damages).              Dr. Harron has filed

  a motion to dismiss each of the counts against him in the amended

  complaint, and that motion is now fully briefed.                    Dr. Harron’s

  motion to dismiss, in large part, makes the same substantive

  arguments for dismissal as were made by Robert Peirce, Jr., Louis

  A.   Raimond      and   Mark   T.    Coulter    (collectively       “the   lawyer

  defendants”) in their motion to dismiss Counts 1 through 4 of the

  amended complaint.         On March 28, 2008, this Court entered an order
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  granting the lawyer defendant’s motion to dismiss as to Counts 1

  and 2 and denying their motion to dismiss as to Counts 3 and 4.

  For the reasons articulated in that opinion and as set forth below,

  Dr. Harron’s motion to dismiss is granted as to Count 2 and denied

  as to Counts 4 and 7.       This Court also denies as moot CSX’s motion

  for extension of time to complete service of the amended complaint

  on Dr. Harron because Dr. Harron has now executed a waiver of

  service.

                     I.   Count 2: Civil RICO Conspiracy

        Like   the   lawyer   defendants,   Dr.   Harron   asserts   numerous

  arguments in support of his motion to dismiss Count 2 (civil RICO

  conspiracy) of the amended complaint.        Because this Court believes

  that the statute of limitations issue is dispositive as to Count 2,

  it is unnecessary to reach the merits of his remaining arguments,

  except with respect to whether CSX has demonstrated a pattern of

  racketeering activity.

        CSX’s RICO conspiracy, 18 U.S.C. § 1962(d) claim is governed

  by a uniform four-year statute of limitations period.            See Agency

  Holding Corp. v. Malley-Duff & Assoc., 483 U.S. 143, 156 (1987).

  Dr. Harron argues that CSX’s claim in Count 2 must fail because

  eight of the nine lawsuits that comprise the basis of that claim

  were filed more than four years before CSX filed its amended

  complaint in this case.       This Court agrees.




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        In paragraph 71 of the amended complaint, CSX identifies nine

  instances in which the lawyer defendants, in conspiracy with Dr.

  Harron, allegedly filed objectively baseless personal injury claims

  against CSX.     Specifically, the Peirce Firm filed personal injury

  suits arising from asbestos exposure on behalf of the following

  individuals on the following dates: Gene Sanders, March 20, 2000;

  Ike Bronson and James Lackey, August 1, 2001; Robert Fisher,

  November 1, 2001; Willie Trice, November 9, 2001; Morris Collier,

  James Petersen and Donald Wiley, May 19, 2003; and Earl Baylor,

  February 21, 2006.      With the exception of Earl Baylor’s lawsuit,

  each of the above suits were filed more than four years before July

  5, 2007 (the date of the amended complaint).          Additionally, three

  of the lawsuits were settled more than four years prior to the

  filing of the amended complaint.1

        CSX   argues   that   it   is   inappropriate   for   this   Court   to

  determine whether CSX’s claims are time-barred upon a motion to

  dismiss.     CSX contends that application of the injury discovery

  accrual rule, which applies to CSX’s federal and state claims, is

  a fact-intensive determination.            Although the date a cause of

  action began to accrue may in some cases raise a jury question,

  when the facts alleged in the complaint indicate that, with

  reasonable diligence, the plaintiff should have uncovered the


        1
        Gene Sanders’ claim was settled on August 1, 2002.     Ike
  Bronson’s and James Lakey’s claims were settled on June 26, 2003
  and November 17, 2002, respectively.

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  alleged injury prior to the limitations period, the claim will be

  time-barred    as   a   matter   of   law.   In    re   Merrill   Lynch   Ltd.

  Partnerships Litigation, 7 F. Supp. 2d 256, 266 (S.D.N.Y. 1997)

  (citations omitted) (granting motion to dismiss RICO claims on

  statute of limitations grounds); Childers Oil Co., Inc. v. Exxon

  Corp., 960 F.2d 1265, 1273 (4th Cir. 1992) (affirming grant of

  summary judgment where West Virginia common law fraud claim was

  time-barred).       The injury discovery rule provides that, for the

  purpose of applying the relevant statute of limitations, the

  limitations clock begins to run when a plaintiff knows or should

  known of his or her injury.           Rotella v. Wood, 528 U.S. 549, 553

  (2000)(affirming application of injury discovery rule in RICO

  case); Pocahontas Supreme Coal Co., Inc. v. Bethlehem Steel Corp.,

  828 F.2d 211, 220 (4th Cir. 1987) (same); Stemple v. Dobson, 400

  S.E.2d 561, 565 (W. Va. 1990)(applying injury discovery rule in

  common law fraud case).           In this jurisdiction as in others,

  plaintiffs are required to exercise due diligence to ascertain the

  facts from which their claims arise.          See Childers, 960 F.2d at

  1272; Stemple, 400 S.E.2d at 565. “[W]hen a plaintiff is placed on

  notice of the probability of fraud, he has a duty to inquire, and

  he will be charged with all knowledge that he would have obtained

  had he exercised reasonable diligence.”           In re Merrill Lynch, 7 F.

  Supp. 2d at 266.




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        In this case, CSX was on inquiry notice of the injuries

  alleged in Count 2 when the nine allegedly fraudulent claims

  against it were filed and/or settled. Under case management orders

  implemented by the West Virginia Mass Litigation Panel, CSX and the

  employees represented by the Peirce Firm were required to undergo

  an early mediation process in an attempt to reach a settlement of

  most claims.     (Pl.’s Am. Compl. ¶ 107.)       Pursuant to a mediation

  order entered on September 6, 2001, CSX was given access to the

  original x-rays, medical records, and records maintained by the

  Railroad Retirement Board as to each claimant.           (Pl.’s Am. Compl.

  Ex. HH ¶ 13.)      The medical records that CSX had the ability to

  obtain included the Internal Labor Organization (“ILO”) forms which

  listed Dr. Harron’s opinions regarding the quality of the x-ray and

  the severity of the injury observed.          (Pl.’s Am. Compl. Ex. M.)

  Additionally, CSX had the right to conduct depositions with respect

  to the claims of each plaintiff on an as-needed basis.           (Pl.’s Am.

  Compl. Ex. HH ¶ 15.)

        As CSX concedes, it was not required to discover both an

  injury and a pattern of RICO activity before the statute of

  limitations began to run in this case.              Rather, all that is

  required to begin the limitations clock is actual or inquiry notice

  that CSX was injured by the defendants.         Because CSX had access to

  the medical information upon which the claimant’s lawsuits were

  based soon after the filing of each of the nine suits, CSX is


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  charged with notice of its injuries on or substantially near the

  date those cases were filed.2                Accordingly, because eight of the

  nine cases were filed prior to May 19, 2003, more than four years

  prior to date the amended complaint was filed, Count 2 is time-

  barred as to Dr. Harron and must be dismissed.

         The fact that one case was filed within the limitations period

  (Earl Baylor’s lawsuit) does not change this result.                          To state a

  RICO       conspiracy   claim,       a    plaintiff      must     show   a   “pattern   of

  racketeering activity.”                  18 U.S.C. § 1961(5).            A “pattern of

  racketeering activity” requires a showing of at least two acts of

  racketeering activity.               Id.        Because only one alleged act of

  racketeering activity is not time-barred, CSX has failed to show

  the requisite pattern to sustain its civil RICO conspiracy claim.

                          II.     Count 4: Civil Conspiracy

         The     foregoing       statute     of       limitations    analysis    similarly

  applies       to   Count   4    of   the     amended      complaint.         CSX’s   civil

  conspiracy claim is governed by the two-year “catch-all” statute of

  limitations found in West Virginia Code § 55-2-12.3                           See Alpine


         2
        At the very least, on the face of the amended complaint, CSX
  knew or should have known it was injured prior to settling three of
  the nine cases.
         3
          West Virginia Code § 55-2-12 provides:

         Every personal action for which no limitation is
         otherwise prescribed shall be brought: (a) Within two
         years next after the right to bring the same shall have
         accrued, if it be for damage to property; (b) within two
         years next after the right to bring the same shall have

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  Property Owners Assoc. Inc. v. Mountaintop Development Co., 365

  S.E.2d 57, 66 (W. Va. 1987). West Virginia also applies the injury

  discovery rule to the instant state claim. See Stemple, 400 S.E.2d

  at 565.    Because eight of the nine lawsuits relied upon by CSX to

  establish its state claims were filed more than two years before

  the amended complaint was filed in this case, reliance on those

  suits is time-barred.      The one remaining lawsuit, which was filed

  on behalf of Earl Baylor on February 21, 2006, is not time-barred

  because it was filed less than two-years before July 5, 2007.

  Unlike CSX’s RICO claims, which require a showing of a pattern of

  racketeering activity, CSX’s state law claim against Dr. Harron can

  be supported by a single instance of fraud and/or conspiracy.

  Thus, Dr. Harron’s other arguments in support of dismissal must be

  considered as to Count 4.

        First, Dr. Harron contends that CSX has failed to adequately

  allege a civil conspiracy. This challenge is without merit. Count

  4 is subject only to the notice pleading requirements of Federal

  Rule of Civil Procedure 8(a).             Under Rule 8, a plaintiff is

  required to make only a “short and plain statement of the claim



        accrued if it be for damages for personal injuries; and
        (c) within one year next after the right to bring the
        same shall have accrued if it be for any other matter of
        such nature that, in case a party die, it could not have
        been brought at common law by or against his personal
        representative.
  W. Va. Code § 55-2-12.

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  showing that the pleader is entitled to relief.”            Fed. R. Civ. P.

  8(a)(2).      To   meet   this   standard,   the    plaintiff’s   “[f]actual

  allegations must be enough to raise a right to relief about the

  speculative level” and the plaintiff must show that the grounds of

  his or her claim constitute “more than labels and conclusions, and

  a formulaic recitation of the elements.”             Bell Atlantic Corp. v.

  Twombly, 127 S. Ct. 1955, 1965 (2007).             To establish a claim for

  civil conspiracy in West Virginia, “it must be proved that the

  defendants have committed some wrongful act or have committed a

  lawful act in an unlawful manner to the injury of the plaintiff.”

  Cook v. Heck’s Inc., 342 S.E.2d 453, 460 (W. Va. 1986).                  CSX

  alleges that the lawyer defendants and Dr. Harron conspired to

  commit fraud.       To recover for conspiracy, CSX must prove the

  underlying fraud.      See Roney v. Gencorp, 431 F. Supp. 2d 622, 638

  (S.D. W. Va. 2006).        Because CSX has sufficiently alleged the

  underlying fraud in Count 3, the Court will not dismiss its

  conspiracy claim as insufficiently pled.

        Next, Dr. Harron contends that CSX’s claims are precluded

  under the Noerr-Pennington doctrine. The Noerr-Pennington doctrine

  provides a potential defense of immunity against civil liability to

  those who exercise their First Amendment right to petition the

  government for redress of grievances, provided that the petitioning

  activity is not a sham.       Professional Real Estate Investors, Inc.

  v. Columbia Picture Indus., Inc, 508 U.S. 49, 56-57 (1993).


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  Litigation     is    a    “sham”      if    the    underlying    lawsuit      was     (1)

  objectively    baseless         and   (2)     subjectively      intended      to   abuse

  process.      Id. at 60-61.           Assuming, without deciding, that the

  Noerr-Pennington         doctrine      is    even    applicable      in    this     case,

  dismissal based on the doctrine would be premature.                       CSX’s amended

  complaint contains sufficient allegations to support the sham

  exception.4    However, the application of the sham exception is a

  factual    question       that    cannot      be    answered    at   this     stage   of

  litigation.     Accordingly, the Dr. Harron’s motion to dismiss is

  denied as to Count 4 of the amended complaint.

                           III.    Count 7: Punitive Damages

        In his motion to dismiss, Dr. Harron also requests dismissal

  of Count 7 of the amended complaint (punitive damages against all

  defendants).        Dr. Harron, however, does not make any substantive

  arguments regarding dismissal of Count 7 in his briefs in support

  of the motion to dismiss.             This Court declines to dismiss Count 7

  without the benefit of briefing.

                                     IV.      Conclusion

        For the above-stated reasons, it is ORDERED that Dr. Harron’s

  motion to dismiss is GRANTED as to Count 2 and DENIED as to Counts

  4 and 7.   CSX’s motion for extension of time to complete service of

  the amended complaint on Dr. Harron is DENIED AS MOOT.


        4
        Specifically, CSX alleges that the personal injury claim
  filed on behalf of Earl Baylor was objectively baseless and that
  the defendants knew that no good faith basis existed for the claim.

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         IT IS SO ORDERED.

         The Clerk is DIRECTED to transmit a copy of this memorandum

   opinion and order to counsel of record herein.

         DATED:     April 1, 2008



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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